Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 1 of 26 PageID 678
   Member:                                                                                       Orlando, FL (Main) Office
   American Society of Questioned
    Document Examiners
                                       Thomas W. Vastrick                                      522 S Hunt Club Blvd Suite 217
                                                                                                     Apopka, FL 32703

   American Academy of
    Forensic Sciences – QD Section
                                          Forensic Document Examiner                         Tallahassee, FL (Branch) Office
                                                                                             1400 Village Square Blvd #3-149
   Southeastern Association of                                                                    Tallahassee, FL 32312
    Forensic Document Examiners
                                                                                                      (407) 234-3219
                                                   January 18, 2021

  Dr. Neelam Uppal

  File No. 214646

                                     FORENSIC DOCUMENT EXAMINATION REPORT


                                                   Work Assignment

  Determine whether Exhibit Q-1 contains evidence of alteration or page substitution.

  The submitted questioned document consists of the following:

  Q-1    One original Adjustable Rate Mortgage Note Pick-A-Payment Loan dated June 15, 2006.
  Q-2    One original Mortgage dated June 15, 2006.


                                                      Conclusions


  Exhibits Q-1 and Q-2 were examined at the Pinellas County Clerk’s Office in Clearwater FL.

  It was noted that the footer format on Exhibit Q-1 denotes SD254 followed by a letter that follows a pattern of A
  for Page 1, B for Page 2, etc. This entry is then followed by an entry, “(2004-03-3)”. Entries of a format commonly
  recognized as a date entry are interpreted as the date that the form was first created or made available for use.
  Pages 1 through 6 bear an entry in the middle reading “BIWEEKLY ARM” jjst above the page number. The page
  number entry on Pages 1 thrtough 6 utilize the word “Page” fillowed by the number. Page 2 contains two
  additional entries, one being “[B01 (2004-03-3)] to the left of the “BIWEEKLY ARM” entry. In addition, Page 2 also
  contains an entry at the left margin reading, “COSI”. Page 7 footers contain multiple entries that are not reflected
  within the other pages. These entries include 1) the apparent date entry of the “SD254” reading (2004-03-1)”; 2)
  no letter following the “SD254” ntry coinciding with the page number; 3) no entry of “BIWEEKLY ARM”; and 4) a
  different format for the page number designation (“Page 7 of 7). While these observations tend to support
  evidence of page substitution for Page 7 of Exhibit Q-1, comprehensive assessment will require the submission of
  known samples of all contemporaneous versions of World Savings Bank, FSB Adjustable Rate Mortgage Note Pick-
  A-Payment Loan GDW Average Deposit Account Rate (cost of Savings) Index Biweekly Payment forms in order to
  determine whether or not these format variances are an integral part of the form or not.

  The footer on Page 1 of Exhibit Q-2 contains what is assessed as a form number (SD010) followed by a page
  designation (A=Page 1, B=Page 2, etc.) and what appears to be a date entry “(2004-10-1)”. Below that footer entry
  is the entry “DEFERRED INTEREST”. The center portion of the footer contains two entries. The top entry reads,
  “MORTGAGE ADJUSTABLE” and the lower entry is the page number in the format of the word “Page” followd by
  the number. The right side of the footer contains the designation “FL”. Subsequent pages follow the same pattern
  of entries with the excpetion of the “DEFERRED INTEREST” entry not being present. This pattern holds through
  Page 12. On Page 13 (the signature page) there is no page designation letter following the apparent form number
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 2 of 26 PageID 679
  FORENSIC DOCUMENT EXAMINATION REPORT
  File No. 214646
  Page 2




  (SD010) nor the footer entry “MORTGAGE ADJUSTABLE”. The apparent date enry reads, “92004-03-1)”. There is
  an additional footer entry reading “[X29 (2004-03-1)]”. Page 14 has no page designation following the apparent
  form number and also uses the page designation “Page 14 of 14”. The apparent date entry reads, “(2003-03-1)”.
  The notary page contains no footer entries. While these observations tend to support evidence of page
  substitutions within Exhibit Q-2, comprehensive assessment will require the submission of known samples of all
  contemporaneous versions of World Savings Bank, Mortgage forms in order to determine whether or not these
  format variances are an integral part of the form or not.

  Photographs of the pages of Exhibits Q-1 and Q-2 are attached below.




  Thomas W. Vastrick
  Forensic Document Examiner
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 3 of 26 PageID 680




                        EXHIBIT 1
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 4 of 26 PageID 681
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 5 of 26 PageID 682
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 6 of 26 PageID 683
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 7 of 26 PageID 684
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 8 of 26 PageID 685
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 9 of 26 PageID 686
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 10 of 26 PageID 687
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 11 of 26 PageID 688




                     EXHIBIT Q-2
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 12 of 26 PageID 689
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 13 of 26 PageID 690
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 14 of 26 PageID 691
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 15 of 26 PageID 692
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 16 of 26 PageID 693
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 17 of 26 PageID 694
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 18 of 26 PageID 695
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 19 of 26 PageID 696
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 20 of 26 PageID 697
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 21 of 26 PageID 698
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 22 of 26 PageID 699
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 23 of 26 PageID 700
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 24 of 26 PageID 701
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 25 of 26 PageID 702
Case 8:19-cv-02319-MSS-TGW Document 71-2 Filed 01/19/21 Page 26 of 26 PageID 703
